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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

 UNITED STATES OF AMERICA

 v.                                                   CAUSE NO.: 2:20-CR-92-TLS-JEM


 JESSICA GUSKA


              ORDER ACCEPTING FINDINGS AND RECOMMENDATION

       This matter is before the Court on the Findings and Recommendation of the Magistrate

Judge Upon a Plea of Guilty [ECF No. 26], filed on December 10, 2020. The Defendant has

waived objections to the Findings and Recommendation.

       The Court finds that the change of plea conducted by video teleconference complies with

Section 15002(b)(2)(A) of the CARES Act. First, General Orders 2020-08, 2020-20, 2020-29,

and 2020-39, authorized video conferencing for felony pleas under Federal Rule of Criminal

Procedure 11, finding that such hearings cannot be conducted in person without seriously

jeopardizing public health and safety as a result of the current COVID-19 pandemic.

       Second, the Court finds that the Defendant’s felony plea in this case cannot be delayed

without serious harm to the interests of justice due to the Defendant’s desire to admit her guilt,

plead guilty, and proceed to sentencing in a timely manner and the government and public

interest in timely processing criminal matters.

       Finally, the Defendant consented to video teleconferencing after consultation with

counsel. See CARES ACT § 15002(b)(4). Prior to the December 8, 2020 Change of Plea

Hearing, the Defendant submitted a Consent to Appear by Video Teleconference [ECF No. 23],

in which she provided her consent for court proceedings to be conducted by video teleconference




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and indicated that her consent was provided freely and voluntarily and that no threats or

promises were made to compel her to sign the form.

       The Court being duly advised, ADOPTS the Findings and Recommendation of the

Magistrate Judge Upon a Plea of Guilty [ECF No. 26] in its entirety and ACCEPTS the

recommended disposition. Subject to this Court’s consideration of the Plea Agreement pursuant

to Federal Rule of Criminal Procedure 11(c), if applicable and necessary, the plea of guilty to the

offense charged in Count 3 of the Indictment is hereby ACCEPTED, and the Defendant is

adjudged GUILTY of the offense.

       The Sentencing Scheduling Order scheduling sentencing-related deadlines and hearings

will be issued by separate order.

       SO ORDERED on January 12, 2021.

                                                s/ Theresa L. Springmann
                                                JUDGE THERESA L. SPRINGMANN
                                                UNITED STATES DISTRICT COURT




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